     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 1 of 42 Page ID #:33

                                                                          3/10/2022
                                                                            VAM

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 9   UNITED STATES OF AMERICA

10                             UNITED STATES DISTRICT COURT

11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. CR    2:22-cr-00080-MCS-1

13                Plaintiff,                 PLEA AGREEMENT FOR DEFENDANT
                                             WAYNE JOSEPH NIX
14                     v.

15   WAYNE JOSEPH NIX,

16                Defendant.

17

18           1.   Subject to the approval of the Department of Justice, Tax
19   Division, this constitutes the plea agreement between WAYNE JOSEPH
20   NIX (“defendant”) and the United States Attorney’s Office for the
21   Central District of California (the “USAO”) in the above-captioned
22   case.    This agreement is limited to the USAO and cannot bind any
23   other federal, state, local, or foreign prosecuting, enforcement,
24   administrative, or regulatory authorities.
25                               DEFENDANT’S OBLIGATIONS
26           2.   Defendant agrees to:
27                a.   Give up the right to indictment by a grand jury and,
28   at the earliest opportunity requested by the USAO and provided by the
     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 2 of 42 Page ID #:34



 1   Court, appear and plead guilty to a two-count information in the form

 2   attached to this agreement as Exhibit A or a substantially similar

 3   form, which charges defendant with Conspiracy to Operate an Unlawful

 4   Gambling Business, in violation of 18 U.S.C. § 371; and Subscribing

 5   to a False Tax Return, in violation of 26 U.S.C. § 7206(1).

 6              b.    Not contest facts agreed to in this agreement.

 7              c.    Abide by all agreements regarding sentencing contained

 8   in this agreement.

 9              d.    Appear for all court appearances, surrender as ordered

10   for service of sentence, obey all conditions of any bond, and obey

11   any other ongoing court order in this matter.

12              e.    Not commit any crime; however, offenses that would be

13   excluded for sentencing purposes under United States Sentencing

14   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

15   within the scope of this agreement.

16              f.    Be truthful at all times with the United States

17   Probation and Pretrial Services Office and the Court.

18              g.    Pay the applicable special assessments at or before

19   the time of sentencing unless defendant has demonstrated a lack of

20   ability to pay such assessments.

21              h.    Ability to pay shall be assessed based on the

22   Financial Disclosure Statement, referenced below, and all other

23   relevant information relating to ability to pay.

24              i.    Defendant agrees that any and all restitution/fine

25   obligations ordered by the Court will be due in full and immediately.

26   The government is not precluded from pursuing, in excess of any

27   payment schedule set by the Court, any and all available remedies by

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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 3 of 42 Page ID #:35



 1   which to satisfy defendant’s payment of the full financial

 2   obligation, including referral to the Treasury Offset Program.

 3                j.   Complete the Financial Disclosure Statement on a form

 4   provided by the USAO and, within 30 days of defendant’s entry of a

 5   guilty plea, deliver the signed and dated statement, along with all

 6   of the documents requested therein, to the USAO by either email at

 7   usacac.FinLit@usdoj.gov (preferred) or mail to the USAO Financial

 8   Litigation Section at 300 N. Los Angeles St., Suite 7516, Los

 9   Angeles, CA 90012.

10        3.      Defendant further agrees:

11                a.   To forfeit all right, title, and interest in and to

12   any and all monies, properties, and/or assets of any kind, derived

13   from or acquired as a result of the illegal activity charged in Count

14   One of the information to which defendant is pleading guilty,

15   specifically including, but not limited to, the following

16   (collectively, the “Forfeitable Assets”):

17                     i.    $108,919.80 seized on or about February 13, 2020

18   from Wells Fargo Bank account number ending ‘3903 held in the name of

19   defendant;

20                     ii.   $49,565.70 seized on or about February 13, 2020

21   from Wells Fargo Bank account number ending ‘4006 held in the name of

22   Nixy Enterprises;

23                     iii. $422,415.30 seized on or about February 13, 2020

24   from Merrill Lynch account number ending ‘7557 held in the name of

25   defendant;

26                     iv.   $718,834.83 seized on or about February 13, 2020

27   from Merrill Lynch account number ending ‘1462 held in the name of

28   Nixy Enterprises.

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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 4 of 42 Page ID #:36



 1              b.    To the Court’s entry of an order of forfeiture at or

 2   before sentencing with respect to the Forfeitable Assets and to the

 3   forfeiture of the assets.

 4              c.    To take whatever steps are necessary to pass to the

 5   United States clear title to the Forfeitable Assets, including,

 6   without limitation, the execution of a consent decree of forfeiture

 7   and the completing of any other legal documents required for the

 8   transfer of title to the United States.

 9              d.    Not to contest any administrative forfeiture

10   proceedings or civil judicial proceedings commenced against the

11   Forfeitable Assets.     If defendant submitted a claim and/or petition

12   for remission for all or part of the Forfeitable Assets on behalf of

13   himself or any other individual or entity, defendant shall and hereby

14   does withdraw any such claims or petitions, and further agrees to

15   waive any right he may have to seek remission or mitigation of the

16   forfeiture of the Forfeitable Assets.

17              e.    Not to assist any other individual in any effort

18   falsely to contest the forfeiture of the Forfeitable Assets.

19              f.    Not to claim that reasonable cause to seize the

20   Forfeitable Assets was lacking.

21              g.    To prevent the transfer, sale, destruction, or loss of

22   any and all assets described above to the extent defendant has the

23   ability to do so.

24              h.    That forfeiture of Forfeitable Assets shall not be

25   counted toward satisfaction of any special assessment, fine,

26   restitution, costs, or other penalty the Court may impose.

27              i.    With respect to any criminal forfeiture ordered as a

28   result of this plea agreement, defendant waives: (1) the requirements

                                          4
     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 5 of 42 Page ID #:37



 1   of Federal Rules of Criminal Procedure 32.2 and 43(a) regarding

 2   notice of the forfeiture in the charging instrument, announcements of

 3   the forfeiture sentencing, and incorporation of the forfeiture in the

 4   judgment; (2) all constitutional and statutory challenges to the

 5   forfeiture (including by direct appeal, habeas corpus or any other

 6   means); and (3) all constitutional, legal, and equitable defenses to

 7   the forfeiture of the Forfeitable Assets in any proceeding on any

 8   grounds including, without limitation, that the forfeiture

 9   constitutes an excessive fine or punishment.         Defendant acknowledges

10   that forfeiture of the Forfeitable Assets is part of the sentence

11   that may be imposed in this case and waives any failure by the Court

12   to advise defendant of this, pursuant to Federal Rule of Criminal

13   Procedure 11(b)(1)(J), at the time the Court accepts defendant’s

14   guilty pleas.

15        4.     Defendant admits that defendant received $1,466,947.75 of

16   unreported income for 2017 and 2018.       Defendant agrees that:

17               a.   Defendant will file, prior to the time of sentencing,

18   amended returns for the years 2017 and 2018 subject to the above

19   admissions, correctly reporting unreported income; will, if requested

20   to do so by the Internal Revenue Service, provide the Internal

21   Revenue Service with information regarding the years covered by the

22   returns; will pay to the Fiscal Clerk of the Court at or before

23   sentencing all additional taxes and all penalties and interest

24   assessed by the Internal Revenue Service on the basis of the returns;

25   and will promptly pay to the Fiscal Clerk of the Court all additional

26   taxes and all penalties and interest thereafter determined by the

27   Internal Revenue Service to be owing as a result of any computational

28   error(s).   Payments may be made to the Clerk, United States District

                                          5
     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 6 of 42 Page ID #:38



 1   Court, Fiscal Department, 255 East Temple Street, Room 1178, Los

 2   Angeles, California 90012.

 3                b.   Nothing in this agreement forecloses or limits the

 4   ability of the Internal Revenue Service to examine and make

 5   adjustments to defendant’s returns after they are filed.

 6                c.   Defendant will not, after filing the returns, file any

 7   claim for refund of taxes, penalties, or interest for amounts

 8   attributable to the returns filed in connection with this plea

 9   agreement.

10                d.   Defendant is liable for the fraud penalty imposed by

11   the Internal Revenue Code, 26 U.S.C. § 6663, on the understatements

12   of tax liability for 2017 and 2018.

13                e.   Defendant gives up any and all objections that could

14   be asserted to the Examination Division of the Internal Revenue

15   Service receiving materials or information obtained during the

16   criminal investigation of this matter, including materials and

17   information obtained through grand jury subpoenas.

18                f.   Defendant will sign closing agreements with the

19   Internal Revenue Service prior to his sentencing date, permitting the

20   Internal Revenue Service to assess and collect the total sum of

21   $1,248,429.55, which comprises the additional tax liabilities

22   ($735,015.56 and $513,413.99 for the defendant’s tax years 2017 and

23   2018, respectively), the civil fraud penalty for each year, and

24   statutory interest on the tax liabilities, as provided by law.

25        5.      Defendant further agrees to cooperate fully with the USAO,

26   the Department of Homeland Security, Homeland Security

27   Investigations, and, as directed by the USAO, any other federal,

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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 7 of 42 Page ID #:39



 1   state, local, or foreign prosecuting, enforcement, administrative, or

 2   regulatory authority.     This cooperation requires defendant to:

 3              a.    Respond truthfully and completely to all questions

 4   that may be put to defendant, whether in interviews, before a grand

 5   jury, or at any trial or other court proceeding.

 6              b.    Attend all meetings, grand jury sessions, trials or

 7   other proceedings at which defendant’s presence is requested by the

 8   USAO or compelled by subpoena or court order.

 9              c.    Produce voluntarily all documents, records, or other

10   tangible evidence relating to matters about which the USAO, or its

11   designee, inquires.

12        6.    For purposes of this agreement: (1) “Cooperation

13   Information” shall mean any statements made, or documents, records,

14   tangible evidence, or other information provided, by defendant

15   pursuant to defendant’s cooperation under this agreement or pursuant

16   to the letter agreements previously entered into by the parties dated

17   February 27, 2020; May 5, 2020; September 29, 2020; and April 23,

18   2021 (the “Letter Agreements”); and (2) “Plea Information” shall mean

19   any statements made by defendant, under oath, at the guilty plea

20   hearing and the agreed to factual basis statement in this agreement.

21                              THE USAO’S OBLIGATIONS

22        7.    The USAO agrees to:
23              a.    Not contest facts agreed to in this agreement.
24              b.    Abide by all agreements regarding sentencing contained
25   in this agreement.
26              c.    At the time of sentencing, provided that defendant
27   demonstrates an acceptance of responsibility for the offenses up to
28   and including the time of sentencing, recommend a two-level reduction
                                          7
     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 8 of 42 Page ID #:40



 1   in the applicable Sentencing Guidelines offense level, pursuant to

 2   U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an

 3   additional one-level reduction if available under that section.

 4        8.    The USAO further agrees:

 5              a.    Not to offer as evidence in its case-in-chief in the

 6   above-captioned case or any other criminal prosecution that may be

 7   brought against defendant by the USAO, or in connection with any

 8   sentencing proceeding in any criminal case that may be brought

 9   against defendant by the USAO, any Cooperation Information.

10   Defendant agrees, however, that the USAO may use both Cooperation

11   Information and Plea Information: (1) to obtain and pursue leads to

12   other evidence, which evidence may be used for any purpose, including

13   any criminal prosecution of defendant; (2) to cross-examine defendant

14   should defendant testify, or to rebut any evidence offered, or

15   argument or representation made, by defendant, defendant’s counsel,

16   or a witness called by defendant in any trial, sentencing hearing, or

17   other court proceeding; and (3) in any criminal prosecution of

18   defendant for false statement, obstruction of justice, or perjury.

19              b.    Not to use Cooperation Information against defendant

20   at sentencing for the purpose of determining the applicable guideline

21   range, including the appropriateness of an upward departure, or the

22   sentence to be imposed, and to recommend to the Court that

23   Cooperation Information not be used in determining the applicable

24   guideline range or the sentence to be imposed.         Defendant

25   understands, however, that Cooperation Information will be disclosed

26   to the United States Probation and Pretrial Services Office and the

27   Court, and that the Court may use Cooperation Information for the

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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 9 of 42 Page ID #:41



 1   purposes set forth in U.S.S.G § 1B1.8(b) and for determining the

 2   sentence to be imposed.

 3              c.    In connection with defendant’s sentencing, to bring to

 4   the Court’s attention the nature and extent of defendant’s

 5   cooperation.

 6              d.    If the USAO determines, in its exclusive judgment,

 7   that defendant has both complied with defendant’s obligations under

 8   paragraphs 2, 3, and 4 above and provided substantial assistance to

 9   law enforcement in the prosecution or investigation of another

10   (“substantial assistance”), to move the Court pursuant to U.S.S.G.

11   § 5K1.1 to fix an offense level and corresponding guideline range

12   below that otherwise dictated by the sentencing guidelines, and to

13   recommend a term of imprisonment within this reduced range.

14               DEFENDANT’S UNDERSTANDINGS REGARDING COOPERATION

15        9.    Defendant understands the following:
16              a.    Any knowingly false or misleading statement by
17   defendant will subject defendant to prosecution for false statement,
18   obstruction of justice, and perjury and will constitute a breach by
19   defendant of this agreement.
20              b.    Nothing in this agreement requires the USAO or any
21   other prosecuting, enforcement, administrative, or regulatory
22   authority to accept any cooperation or assistance that defendant may
23   offer, or to use it in any particular way.
24              c.    Defendant cannot withdraw defendant’s guilty pleas if
25   the USAO does not make a motion pursuant to U.S.S.G. § 5K1.1 for a
26   reduced guideline range or if the USAO makes such a motion and the
27   Court does not grant it or if the Court grants such a USAO motion but
28   elects to sentence above the reduced range.
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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 10 of 42 Page ID #:42



 1                 d.   At this time the USAO makes no agreement or

 2   representation as to whether any cooperation that defendant has

 3   provided or intends to provide constitutes or will constitute

 4   substantial assistance.      The decision whether defendant has provided

 5   substantial assistance will rest solely within the exclusive judgment

 6   of the USAO.

 7                 e.   The USAO’s determination whether defendant has

 8   provided substantial assistance will not depend in any way on whether

 9   the government prevails at any trial or court hearing in which

10   defendant testifies or in which the government otherwise presents

11   information resulting from defendant’s cooperation.

12                              NATURE OF THE OFFENSES

13           10.   Defendant understands that for defendant to be guilty of
14   the crime charged in Count One of the information, that is,
15   Conspiracy to Operate an Illegal Gambling Business, in violation of
16   Title 18, United States Code, Section 371, the following must be
17   true:
18                 a.   Beginning in 2014, and continuing through on or about
19   February 7, 2020, there was an agreement between two or more persons
20   to commit the crime of Operating an Unlawful Gambling Business, in
21   violation of Title 18, United States Code, Section 1955;
22                 b.   The defendant became a member of the conspiracy
23   knowing of at least one of its objects and intending to help
24   accomplish it; and
25                 c.   One of the members of the conspiracy performed at
26   least one overt act on or after December 1, 2016, for the purpose of
27   carrying out the conspiracy.
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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 11 of 42 Page ID #:43



 1        11.     Defendant understands that for a defendant to be guilty of

 2   Operating an Unlawful Gambling Business, in violation of Title 18,

 3   United States Code, Section 1955, the following must be true:

 4                a.   Defendant conducted a business consisting of unlawful

 5   sports gambling;

 6                b.   Sports gambling was illegal in the State in which

 7   defendant conducted the business, namely, California;

 8                c.   The business involved five or more persons who

 9   conducted all or part of the business; and

10                d.   The business had been in substantially continuous

11   operation by five or more persons for more than thirty days, or had a

12   gross revenue of more than $2,000 in any single day.

13        12.     Defendant understands that for defendant to be guilty of

14   the crime charged in Count Two, that is, Subscribing to a False Tax

15   Return, in violation of Title 26, United States Code, Section

16   7206(1), the following must be true:

17                a.   Defendant signed and filed a tax return for the year

18   2018 that he knew contained false information as to a material

19   matter;

20                b.   The return contained a written declaration that it was

21   being signed subject to the penalties of perjury; and

22                c.   In filing the false tax return, the defendant acted

23   willfully.

24        13.     In order to prove the defendant acted “willfully,” the

25   government must prove beyond a reasonable doubt that the defendant

26   knew federal tax law imposed a duty on him and the defendant

27   intentionally and voluntarily violated that duty.          A matter is

28   “material” if it has a natural tendency to influence, or is capable

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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 12 of 42 Page ID #:44



 1   of influencing, the decisions or activities of the Internal Revenue

 2   Service.

 3                                      PENALTIES

 4        14.   Defendant understands that the statutory maximum sentence
 5   that the Court can impose for a violation of Title 18, United States
 6   Code, Section 371, is: five years’ imprisonment; a three-year period
 7   of supervised release; a fine of $250,000 or twice the gross gain or
 8   gross loss resulting from the offense, whichever is greatest; and a
 9   mandatory special assessment of $100.
10        15.   Defendant understands that the statutory maximum sentence
11   that the Court can impose for a violation of Title 26, United States
12   Code, Section 7206(1), is: three years’ imprisonment; a one-year
13   period of supervised release; a fine of $250,000 or twice the gross
14   gain or gross loss resulting from the offense, whichever is greatest;
15   and a mandatory special assessment of $100.
16        16.    Defendant understands, therefore, that the total maximum
17   sentence for all offenses to which defendant is pleading guilty is:
18   eight years imprisonment; a three-year period of supervised release;
19   a fine of $500,000 or twice the gross gain or gross loss resulting
20   from the offenses, whichever is greatest; and a mandatory special
21   assessment of $200.
22        17.   Defendant understands and agrees that as to Count Two, the
23   Court: (a) may order defendant to pay restitution in the form of any
24   additional taxes, interest, and penalties that defendant owes to the
25   United States based upon Count Two and any relevant conduct,
26   including unpaid taxes of $1,248,429.55 for tax years 2017 and 2018;
27   and (b) must order defendant to pay the costs of prosecution, which
28   may be in addition to the statutory maximum fine stated above.
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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 13 of 42 Page ID #:45



 1        18.   The Court will also order forfeiture of the property listed

 2   in the forfeiture notice in the information pursuant to 18 U.S.C.

 3   § 982.

 4        19.   Defendant understands that supervised release is a period

 5   of time following imprisonment during which defendant will be subject

 6   to various restrictions and requirements.         Defendant understands that

 7   if defendant violates one or more of the conditions of any supervised

 8   release imposed, defendant may be returned to prison for all or part

 9   of the term of supervised release authorized by statute for the

10   offense that resulted in the term of supervised release, which could

11   result in defendant serving a total term of imprisonment greater than

12   the statutory maximum stated above.

13        20.   Defendant understands that, by pleading guilty, defendant

14   may be giving up valuable government benefits and valuable civic

15   rights, such as the right to vote, the right to possess a firearm,

16   the right to hold office, and the right to serve on a jury.

17   Defendant understands that he is pleading guilty to a felony and that

18   it is a federal crime for a convicted felon to possess a firearm or

19   ammunition.    Defendant understands that the convictions in this case

20   may also subject defendant to various other collateral consequences,

21   including but not limited to revocation of probation, parole, or

22   supervised release in another case and suspension or revocation of a

23   professional license.     Defendant understands that unanticipated

24   collateral consequences will not serve as grounds to withdraw

25   defendant’s guilty pleas.

26        21.   Defendant understands that, if defendant is not a United

27   States citizen, the felony convictions in this case may subject

28   defendant to: removal, also known as deportation, which may, under

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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 14 of 42 Page ID #:46



 1   some circumstances, be mandatory; denial of citizenship; and denial

 2   of admission to the United States in the future.          The Court cannot,

 3   and defendant’s attorney also may not be able to, advise defendant

 4   fully regarding the immigration consequences of the felony

 5   convictions in this case.      Defendant understands that unexpected

 6   immigration consequences will not serve as grounds to withdraw

 7   defendant’s guilty pleas.

 8                                    FACTUAL BASIS

 9        22.   Defendant admits that defendant is, in fact, guilty of the
10   offenses to which defendant is agreeing to plead guilty.           Defendant
11   and the USAO agree to the statement of facts provided below and agree
12   that this statement of facts is sufficient to support pleas of guilty
13   to the charges described in this agreement and to establish the
14   Sentencing Guidelines factors set forth in paragraph 24 below but is
15   not meant to be a complete recitation of all facts relevant to the
16   underlying criminal conduct or all facts known to either party that
17   relate to that conduct.
18        Beginning in 2014 and continuing to on or about February 7,
19   2020, in Los Angeles and Orange Counties, California, defendant
20   conspired with co-defendant Edon Yoshida Kagasoff and others to
21   conduct an unlicensed and illegal bookmaking business that took bets
22   for money on the outcome of sporting events from various persons at
23   agreed-upon odds.     The business (the “Nix Gambling Business”), which
24   defendant and co-defendant Kagasoff operated in violation of
25   California Penal Code Section 337(a) (prohibiting bookmaking within
26   the state of California), involved more than five persons who
27   conducted, financed, managed, supervised, directed, or owned all or
28   part of the business, including defendant, co-defendant Kagasoff,
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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 15 of 42 Page ID #:47



 1   K.A., M.F., M.O., D.S., and M.S.       The business remained in

 2   substantially continuous operation by at least five persons for at

 3   least six years and often had gross revenue of well over $2,000 on a

 4   single day.

 5           Specifically, defendant, operating out of various locations in

 6   Los Angeles and Orange Counties, solicited and accepted customers for

 7   the Nix Gambling Business.      Defendant placed and accepted bets from

 8   others for the Nix Gambling Business himself, and also used other

 9   persons (“Agents”) to placed and accepted bets from others for the

10   NIX Gambling Business.      Defendant and co-defendant Kagasoff, and

11   other co-conspirators working at their direction, would use websites

12   and a call center controlled by Sand Island Sports to create accounts

13   through which Nix Gambling Business’s customers could place and track

14   wagers.    Sand Island Sports was based in Costa Rica.         When defendant

15   found a new customer who wanted to place wagers on sporting events,

16   defendant, or one of his associates, contacted Sand Island Sports and

17   arranged for an account to be set up for the customer.           After the

18   account was established, defendant advised the customer as to the

19   limits on his or her wagering activity, and referred the customer to

20   the Sand Island Sports website (www.SandIslandSports.com) to allow

21   California residents and others to place wagers on sporting events

22   over the internet, in violation of California Penal Code Section

23   337a.    Defendant and others in the Sand Island Sports organization

24   would keep track of the customers’ wagering activity and win/loss

25   record.    When a bettor won a bet, defendant or an associate paid the

26   bettor based on the size of the bet and the odds that had been set by

27   Sand Island Sports.     When a bettor lost, defendant or an associate

28   collected the amounts due under the terms of the bet.           In all

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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 16 of 42 Page ID #:48



 1   instances, the Nix Gambling Business, rather than Sand Island Sports,

 2   paid the winnings to the bettors and retained almost all of the money

 3   collected from bettors as a result of their losses.          Defendant used

 4   bank accounts at Wells Fargo Bank ending in ‘3903 and ‘4006 (in the

 5   name of defendant and Nixy Enterprises, respectively) to pay and

 6   receive illicit proceeds from the Nix Gambling Business.           Defendant

 7   then caused the illicit proceeds to be transferred to accounts at

 8   Merrill Lynch ending in ‘7557 and ‘1462.

 9        The following acts were committed in furtherance of the

10   conspiracy, and to accomplish its objects:

11           1. On January 7, 2016, defendant received a check for $245,000

12              from a professional football player for gambling losses

13              incurred by the football player.

14           2. On May 31, 2016, defendant received $4,000 from a coach in

15              Major League Baseball for gambling losses incurred by the

16              coach.

17           3. On November 18, 2016, by text message, defendant recruited

18              a former professional football player to be an agent of the

19              Nix Gambling Business by telling him to handle the

20              communications with two new bettors participating in the

21              NIX Gambling Business and agreeing to pay the former

22              professional football player a “commission” on the losses

23              of the two new bettors.

24           4. On November 5, 2018, by telephone, defendant advised Agent

25              #3 to get rid of clients who did “prop betting” after Agent

26              #4 told defendant that he had lost $10,000 on a client of

27              the Nix Gambling Business who refused to pay.

28           5. On December 11, 2018, defendant received an $8,000 wire

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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 17 of 42 Page ID #:49



 1              transfer for gambling losses from a baseball analyst.

 2           6. On January 24, 2019, by telephone, defendant NIX told a

 3              client that he is throwing a Super Bowl party for clients

 4              of the NIX Gambling Business, and that he had invited a

 5              former NBA player and Hawaiian Tropic girls.

 6           7. On February 3, 2019, defendant NIX accepted a $5 million

 7              bet from a client of the NIX Gambling Business on the

 8              outcome of the Super Bowl.

 9           8. On February 23, 2019, by text message, defendant agreed to

10              reactivate the account of a sports broadcaster after the

11              sports broadcaster told defendant that he was refinancing

12              his home mortgage to obtain money to pay his outstanding

13              gambling debt to defendant.

14           9. Responding to a request from a professional baseball player

15              who already owed gambling debts to defendant, on September

16              14, 2019, by text message, defendant agreed to increase the

17              baseball player’s credit limit to allow the baseball player

18              to wager additional sports bets.

19        Defendant admits that defendant also knowingly and willfully

20   falsely reported his total taxable income to the Internal Revenue

21   Service (“IRS”) on his tax returns for tax years 2017 and 2018.

22   Defendant admits that defendant knew that he had additional income in

23   the following amounts that defendant knowingly and willfully failed

24   to report on his tax returns:

25   //

26   //

27

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                                          17
     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 18 of 42 Page ID #:50



 1    Tax Year                   Reported Income           Unreported Income
 2    2017                       $2,079,347                $812,612.50
 3    2018                       $1,724,552                $654,329.25
 4

 5           For example, on or about October 11, 2019, in Orange County,
 6   defendant willfully made and subscribed to a materially false United
 7   States Individual Income Tax Return, Form 1040, for tax year 2018,
 8   which was filed with the IRS and verified by a written declaration
 9   that it was made under the penalties of perjury, which return
10   defendant did not believe to be true and correct as to every material
11   matter, in that defendant reported on line 10 that his total taxable
12   income for calendar year 2018 was $1,724,552, when, in truth and in
13   fact, as defendant then knew, his total taxable income for the year
14   2018 was at least $2,378,881.25.         Defendant admits that the source of
15   the unreported income was from the operation of the unlawful gambling
16   business described above.
17           For purposes of relevant conduct, defendant also admits that on
18   or about October 9, 2018, in Orange County, defendant willfully made
19   and subscribed to a materially false United States Individual Income
20   Tax Return, Form 1040, for tax year 2017, which was filed with the
21   IRS and verified by a written declaration that it was made under the
22   penalties of perjury, which return defendant did not believe to be
23   true and correct as to every material matter, in that defendant
24   reported on line 43 that his total taxable income for calendar year
25   2017 was $2,079,347, when, in truth and in fact, as defendant then
26   knew, his total taxable income for the year 2017 was at least
27   $2,891,959.50.
28

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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 19 of 42 Page ID #:51



 1        The false information provided by defendant was material in that

 2   it affected the IRS’s calculation of the amount of income that

 3   defendant had received in 2017 and 2018, and prevented the IRS from

 4   verifying the accuracy of the amount of tax claimed to be owed on the

 5   return and determining whether additional income tax was owed.

 6   Defendant acted willfully.      Defendant knew that the law required him

 7   to report all income accurately and to pay all income tax that was

 8   due and owing.    Defendant voluntarily and intentionally violated

 9   those duties.    As a result of the false information defendant

10   provided, defendant owes additional taxes of $261,822 for tax year

11   2018 (before interest and penalties).        For purposes of relevant

12   conduct, defendant also admits that he owes additional taxes of

13   $355,527 for tax year 2017 (before interest and penalties).

14                                 SENTENCING FACTORS

15        23.   Defendant understands that in determining defendant’s
16   sentence the Court is required to calculate the applicable Sentencing
17   Guidelines range and to consider that range, possible departures
18   under the Sentencing Guidelines, and the other sentencing factors set
19   forth in 18 U.S.C. § 3553(a).       Defendant understands that the
20   Sentencing Guidelines are advisory only, that defendant cannot have
21   any expectation of receiving a sentence within the calculated
22   Sentencing Guidelines range, and that after considering the
23   Sentencing Guidelines and the other § 3553(a) factors, the Court will
24   be free to exercise its discretion to impose any sentence it finds
25   appropriate up to the maximum set by statute for the crimes of
26   conviction.
27        24.   Defendant and the USAO agree to the following applicable
28   Sentencing Guidelines factors:
                                          19
     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 20 of 42 Page ID #:52



 1     Count One:

 2     Base Offense Level:                     12           [USSG § 2E3.1(a)(2)]

 3
       Count Two
 4
       Base Offense Level:                     20     [USSG §§ 2T1.1, 2T4.1(H)]
 5
       Failure to report/correctly
 6     identify unlawful income                +2           [USSG § 2T1.1(b)(1)]

 7

 8   Defendant and the USAO reserve the right to argue that additional

 9   specific offense characteristics, adjustments, and departures under

10   the Sentencing Guidelines are appropriate.

11        25.   Defendant understands that there is no agreement as to

12   defendant’s criminal history or criminal history category.

13        26.   Defendant and the USAO reserve the right to argue for a

14   sentence outside the sentencing range established by the Sentencing

15   Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),

16   (a)(2), (a)(3), (a)(6), and (a)(7).

17                         WAIVER OF CONSTITUTIONAL RIGHTS

18        27.   Defendant understands that by pleading guilty, defendant

19   gives up the following rights:

20              a.    The right to persist in a plea of not guilty.

21              b.    The right to a speedy and public trial by jury.

22              c.    The right to be represented by counsel – and if

23   necessary have the Court appoint counsel - at trial.           Defendant

24   understands, however, that, defendant retains the right to be

25   represented by counsel – and if necessary have the Court appoint

26   counsel – at every other stage of the proceeding.

27

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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 21 of 42 Page ID #:53



 1              d.    The right to be presumed innocent and to have the

 2   burden of proof placed on the government to prove defendant guilty

 3   beyond a reasonable doubt.

 4              e.    The right to confront and cross-examine witnesses

 5   against defendant.

 6              f.    The right to testify and to present evidence in

 7   opposition to the charges, including the right to compel the

 8   attendance of witnesses to testify.

 9              g.    The right not to be compelled to testify, and, if

10   defendant chose not to testify or present evidence, to have that

11   choice not be used against defendant.

12              h.    Any and all rights to pursue any affirmative defenses,

13   Fourth Amendment or Fifth Amendment claims, and other pretrial

14   motions that have been filed or could be filed.

15                          WAIVER OF APPEAL OF CONVICTION

16        28.   Defendant understands that, with the exception of an appeal
17   based on a claim that defendant’s guilty pleas were involuntary, by
18   pleading guilty defendant is waiving and giving up any right to
19   appeal defendant’s convictions on the offenses to which defendant is
20   pleading guilty.     Defendant understands that this waiver includes,
21   but is not limited to, arguments that the statutes to which defendant
22   is pleading guilty are unconstitutional, and any and all claims that
23   the statement of facts provided herein is insufficient to support
24   defendant’s pleas of guilty.
25                   LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE
26        29.   Defendant gives up the right to appeal all of the
27   following: (a) the procedures and calculations used to determine and
28   impose any portion of the sentence; (b) the term of imprisonment
                                          21
     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 22 of 42 Page ID #:54



 1   imposed by the Court, provided it is no more than the high-end of the

 2   Sentencing Guidelines range calculated by the Court; (c) the fine

 3   imposed by the Court, provided it is within the statutory maximum;

 4   (d) to the extent permitted by law, the constitutionality or legality

 5   of defendant’s sentence, provided it is within the statutory maximum;

 6   (e) the amount and terms of any restitution order, provided it

 7   requires payment of no more than $1,248,429.55; (f) the term of

 8   probation or supervised release imposed by the Court, provided it is

 9   within the statutory maximum; and (g) any of the following conditions

10   of probation or supervised release imposed by the Court: the

11   conditions set forth in General Order 20-04 of this Court; the drug

12   testing conditions mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d);

13   and the alcohol and drug use conditions authorized by 18 U.S.C. §

14   3563(b)(7).

15        30.   Defendant also gives up any right to bring a post-

16   conviction collateral attack on the convictions or sentence, except a

17   post-conviction collateral attack based on a claim of ineffective

18   assistance of counsel or an explicitly retroactive change in the

19   applicable Sentencing Guidelines, sentencing statutes, or statutes of

20   conviction.    Defendant understands that this waiver includes, but is

21   not limited to, arguments that the statutes to which defendant is

22   pleading guilty are unconstitutional, that newly discovered evidence

23   purportedly supports defendant’s innocence, and any and all claims

24   that the statement of facts provided herein is insufficient to

25   support defendant’s pleas of guilty.

26        31.   The USAO agrees that, provided all portions of the sentence

27   are at or below the statutory maximum specified above, the USAO gives

28   up its right to appeal any portion of the sentence, with the

                                          22
     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 23 of 42 Page ID #:55



 1   exception that the USAO reserves the right to appeal the amount of

 2   restitution ordered if that amount is less than $1,248,429.55.

 3                       RESULT OF WITHDRAWAL OF GUILTY PLEA

 4        32.   Defendant agrees that if, after entering guilty pleas
 5   pursuant to this agreement, defendant seeks to withdraw and succeeds
 6   in withdrawing defendant’s guilty pleas on any basis other than a
 7   claim and finding that entry into this plea agreement was
 8   involuntary, then (a) the USAO will be relieved of all of its
 9   obligations under this agreement, including in particular its
10   obligations regarding the use of Cooperation Information; and (b) in
11   any investigation, criminal prosecution, or civil, administrative, or
12   regulatory action, defendant agrees that any Cooperation Information
13   and any evidence derived from any Cooperation Information shall be
14   admissible against defendant, and defendant will not assert, and
15   hereby waives and gives up, any claim under the United States
16   Constitution, any statute, or any federal rule, that any Cooperation
17   Information or any evidence derived from any Cooperation Information
18   should be suppressed or is inadmissible.
19                    RESULT OF VACATUR, REVERSAL OR SET-ASIDE
20        33.   Defendant agrees that if either count of conviction is
21   vacated, reversed, or set aside, the USAO may: (a) ask the Court to
22   resentence defendant on the remaining count of conviction, with both
23   the USAO and defendant being released from any stipulations regarding
24   sentencing contained in this agreement, (b) ask the Court to void the
25   entire plea agreement and vacate defendant’s guilty plea on the
26   remaining count of conviction, with both the USAO and defendant being
27   released from all their obligations under this agreement, or
28   (c) leave defendant’s remaining conviction, sentence, and plea
                                          23
     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 24 of 42 Page ID #:56



 1   agreement intact.     Defendant agrees that the choice among these three

 2   options rests in the exclusive discretion of the USAO.

 3                           EFFECTIVE DATE OF AGREEMENT

 4        34.   This agreement is effective upon signature and execution of
 5   all required certifications by defendant, defendant’s counsel, and an
 6   Assistant United States Attorney.
 7                                BREACH OF AGREEMENT
 8        35.   Defendant agrees that if defendant, at any time after the
 9   effective date of this agreement, knowingly violates or fails to
10   perform any of defendant’s obligations under this agreement (“a
11   breach”), the USAO may declare this agreement breached.           For example,
12   if defendant knowingly, in an interview, before a grand jury, or at
13   trial, falsely accuses another person of criminal conduct or falsely
14   minimizes defendant’s own role, or the role of another, in criminal
15   conduct, defendant will have breached this agreement.           All of
16   defendant’s obligations are material, a single breach of this
17   agreement is sufficient for the USAO to declare a breach, and
18   defendant shall not be deemed to have cured a breach without the
19   express agreement of the USAO in writing.         If the USAO declares this
20   agreement breached, and the Court finds such a breach to have
21   occurred, then:
22              a.     If defendant has previously entered guilty pleas
23   pursuant to this agreement, defendant will not be able to withdraw
24   the guilty pleas.
25              b.     The USAO will be relieved of all its obligations under
26   this agreement; in particular, the USAO: (i) will no longer be bound
27   by any agreements concerning sentencing and will be free to seek any
28   sentence up to the statutory maximum for the crimes to which
                                          24
     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 25 of 42 Page ID #:57



 1   defendant has pleaded guilty; and (ii) will no longer be bound by any

 2   agreement regarding the use of Cooperation Information and will be

 3   free to use any Cooperation Information in any way in any

 4   investigation, criminal prosecution, or civil, administrative, or

 5   regulatory action.

 6              c.    The USAO will be free to criminally prosecute

 7   defendant for false statement, obstruction of justice, and perjury

 8   based on any knowingly false or misleading statement by defendant.

 9              d.    In any investigation, criminal prosecution, or civil,

10   administrative, or regulatory action: (i) defendant will not assert,

11   and hereby waives and gives up, any claim that any Cooperation

12   Information was obtained in violation of the Fifth Amendment

13   privilege against compelled self-incrimination; and (ii) defendant

14   agrees that any Cooperation Information and any Plea Information, as

15   well as any evidence derived from any Cooperation Information or any

16   Plea Information, shall be admissible against defendant, and

17   defendant will not assert, and hereby waives and gives up, any claim

18   under the United States Constitution, any statute, Rule 410 of the

19   Federal Rules of Evidence, Rule 11(f) of the Federal Rules of

20   Criminal Procedure, or any other federal rule, that any Cooperation

21   Information, any Plea Information, or any evidence derived from any

22   Cooperation Information or any Plea Information should be suppressed

23   or is inadmissible.

24           COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

25                                 OFFICE NOT PARTIES
26        36.   Defendant understands that the Court and the United States
27   Probation and Pretrial Services Office are not parties to this
28   agreement and need not accept any of the USAO’s sentencing
                                          25
     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 26 of 42 Page ID #:58



 1   recommendations or the parties’ agreements to facts or sentencing

 2   factors.

 3        37.   Defendant understands that both defendant and the USAO are

 4   free to: (a) supplement the facts by supplying relevant information

 5   to the United States Probation and Pretrial Services Office and the

 6   Court, (b) correct any and all factual misstatements relating to the

 7   Court’s Sentencing Guidelines calculations and determination of

 8   sentence, and (c) argue on appeal and collateral review that the

 9   Court’s Sentencing Guidelines calculations and the sentence it

10   chooses to impose are not error, although each party agrees to

11   maintain its view that the calculations in paragraph 24 are

12   consistent with the facts of this case.        While this paragraph permits

13   both the USAO and defendant to submit full and complete factual

14   information to the United States Probation and Pretrial Services

15   Office and the Court, even if that factual information may be viewed

16   as inconsistent with the facts agreed to in this agreement, this

17   paragraph does not affect defendant’s and the USAO’s obligations not

18   to contest the facts agreed to in this agreement.

19        38.   Defendant understands that even if the Court ignores any

20   sentencing recommendation, finds facts or reaches conclusions

21   different from those agreed to, and/or imposes any sentence up to the

22   maximum established by statute, defendant cannot, for that reason,

23   withdraw defendant’s guilty pleas, and defendant will remain bound to

24   fulfill all defendant’s obligations under this agreement.           Defendant

25   understands that no one –- not the prosecutor, defendant’s attorney,

26   or the Court –- can make a binding prediction or promise regarding

27   the sentence defendant will receive, except that it will be within

28   the statutory maximum.

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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 27 of 42 Page ID #:59



 1                             NO ADDITIONAL AGREEMENTS

 2        39.   Defendant understands that, except as set forth herein,
 3   there are no promises, understandings, or agreements between the USAO
 4   and defendant or defendant’s attorney, and that no additional
 5   promise, understanding, or agreement may be entered into unless in a
 6   writing signed by all parties or on the record in court.
 7   //
 8   //
 9   //
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Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 28 of 42 Page ID #:60




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Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 29 of 42 Page ID #:61
Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 30 of 42 Page ID #:62
Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 31 of 42 Page ID #:63




                          EXHIBIT A
     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 32 of 42 Page ID #:64



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 8                            UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                CR No.

11              Plaintiff,                    I N F O R M A T I O N

12              v.                            [18 U.S.C. § 371: Conspiracy to
                                              Operate an Illegal Gambling
13   WAYNE JOSEPH NIX, and                    Business; 26 U.S.C. § 7206(1):
     EDON YOSHIDA KAGASOFF,                   Subscribing to a False Tax Return]
14
                Defendants.
15

16        The United States Attorney charges:
17                                      COUNT ONE
18                                 [18 U.S.C. § 371]
19                                  [ALL DEFENDANTS]
20   A.   INTRODUCTORY ALLEGATIONS
21        At times relevant to this Information:
22        1.    The operation of a sports gambling business in California
23   was prohibited by 18 U.S.C. § 1955 and California Penal Code § 337a.
24        2.    Defendant WAYNE JOSEPH NIX was a resident of Orange County,
25   California. Defendant NIX was a minor league baseball player from
26   1995 to 2001.
27        3.    Defendant EDON YOSHIDA KAGASOFF was a resident of Orange
28   County, California.
     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 33 of 42 Page ID #:65



 1        4.     Sometime after 2001, defendant NIX began operating a

 2   bookmaking business in the Los Angeles area that accepted and paid

 3   off bets from bettors in California and elsewhere in the United

 4   States on the outcomes of sporting events at agreed-upon odds (the

 5   “Nix Gambling Business”).      Through contacts he had developed during

 6   his own career in professional sports, defendant NIX would create a

 7   client list of current and former professional athletes, and others.

 8        5.     Defendant NIX used agents to expand the Nix Gambling

 9   Business. Agents were persons who placed and accepted bets from

10   others for the Nix Gambling Business.

11               a.   Agents recruited and maintained their own bettors

12   within the Nix Gambling Business.

13               b.   In some instances, defendant NIX would agree to bear

14   the risk of paying, or covering, any money won by Agents’ bettors as

15   a result of their wagers.      In turn, defendant NIX would receive the

16   majority of the money these bettors lost as a result of their wagers,

17   and he would share with the Agents a portion of the money he so

18   received.

19               c.   In other instances, defendant NIX would agree that the

20   Agents would bear the risk of paying, or covering, any money won by

21   Agents’ bettors as a result of their wagers.         In turn, the Agents

22   would receive the majority of the money these bettors lost as a

23   result of their wagers, and the Agents would pay defendant NIX a fee

24   per player per week.

25               d.   Defendant NIX recruited agents from his current roster

26   of bettors by offering them a commission for new bettors.           Defendant

27   NIX also recruited agents from competing bookmakers by offering the

28   agents a larger commission and lower fees.

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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 34 of 42 Page ID #:66



 1        6.    Agents #1, #2, and #3 were each a former professional

 2   baseball player who had played in Major League Baseball (“MLB”).

 3   Agent #4 was a former minor league baseball player.

 4        7.    Sand Island Sports operated Internet sports gambling

 5   websites, including www.sandislandsports.com and www.betprestige.com,

 6   hosted on servers primarily located outside the United States.            Sand

 7   Island Sports also operated toll-free telephone services

 8   (hereinafter, the “call center”) to facilitate sports betting.            The

 9   Sand Island Sports websites and call center facilitated unlawful

10   sports gambling by providing a platform to bookmakers to track bets

11   placed by their clients.

12        8.    Sand Island Sports was based in Costa Rica, and was owned

13   and operated by United States citizens.

14   B.   OBJECT OF THE CONSPIRACY

15        9.    Beginning in 2014 and continuing through on or about
16   February 7, 2020, in Los Angeles and Orange Counties, within the
17   Central District of California, and elsewhere, defendants NIX and
18   KAGASOFF knowingly conspired with each other and others known and
19   unknown to the United States Attorney to conduct, finance, manage,
20   supervise, direct, and own an illegal gambling business, in violation
21   of California Penal Code Section 337a, which business involved at
22   least five persons who conducted, financed, managed, supervised,
23   directed, and owned all or part of the business; had been in
24   substantially continuous operation by at least five persons for a
25   period in excess of thirty days; and had gross revenue of more than
26   $2,000 in a single day, all in violation of Title 18, United States
27   Code, Section 1955(a).
28

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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 35 of 42 Page ID #:67



 1   C.   THE MANNER AND MEANS OF THE CONSPIRACY

 2        10.   The object of the conspiracy was carried out, and to be
 3   carried out, in substance, as follows:
 4              a.    Beginning in 2014, defendant KAGASOFF would work for
 5   the Nix Gambling Business as an agent.        Defendant KAGASOFF would
 6   place and accept bets from others and help defendant NIX maintain the
 7   Nix Gambling Business by, among other things, demanding and
 8   collecting money owed to the Nix Gambling Business by bettors and
 9   others.
10              b.    Agents #1, #2, #3, and #4 would each be an agent of
11   the Nix Gambling Business.
12              c.    As part of the Nix Gambling Business, defendants NIX
13   and KAGASOFF, and other co-conspirators known and unknown working at
14   defendants NIX and KAGASOFF’s direction, would use the Sand Island
15   Sports websites and call center to create accounts through which
16   wagers would be placed and tracked, and set credit limits for
17   bettors.
18              d.    Defendants NIX and KAGASOFF, and other co-conspirators
19   known and unknown working at defendants NIX and KAGASOFF’s direction,
20   would provide bettors account numbers and passwords for the Sand
21   Island Sports website, and directed the bettors to use the Sand
22   Island Sports websites to place bets with the Nix Gambling Business.
23              e.    Bettors would place bets online through the Sand
24   Island Sports websites, through the Sand Island Sports call center,
25   through defendants NIX and KAGASOFF, and through the agents.
26              f.    Defendants NIX and KAGASOFF, and other co-conspirators
27   known and unknown working at defendants NIX and KAGASOFF’s direction,
28   would pay winnings to, and collect losses from, the bettors, and in
                                             4
     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 36 of 42 Page ID #:68



 1   doing so would receive more than $2,000 in gross revenue in a single

 2   day.   In all instances, the NIX Gambling business, rather than Sand

 3   Island Sports, paid the winnings to the bettors and retained almost

 4   all of the money collected from bettors as a result of their losses.

 5                g.     In exchange for use of the Sand Island Sports website

 6   and call center, defendant NIX paid a fee to Sand Island Sports for

 7   each active bettor.

 8   D.     OVERT ACTS

 9          11.   In furtherance of the conspiracy, and to accomplish its
10   object, on or about the following dates, defendants NIX and KAGASOFF
11   committed and willfully caused others to commit, various overt acts
12   within the Central District of California, and elsewhere, including,
13   but not limited to, the following:
14          Overt Act No. 1:       On January 7, 2016, defendant NIX received a
15   check for $245,000 from a professional football player for gambling
16   losses incurred by the football player.
17          Overt Act No. 2:       On May 31, 2016, defendant NIX received
18   $4,000 from a coach in MLB for gambling losses incurred by the coach.
19          Overt Act No. 3:       On November 18, 2016, by text message,
20   defendant NIX recruited a former professional football player to be
21   an agent of the Nix Gambling Business by telling him to handle the
22   communications with two new bettors participating in the Nix Gambling
23   Business and agreeing to pay the former professional football player
24   a “commission” on the losses of the two new bettors.
25          Overt Act No. 4:       On January 30, 2017, by text message,
26   defendant KAGASOFF told Agent #1 that Agent #1 owed $2,318 for his
27   personal gambling losses and provided balances, i.e., total amounts
28   due, for two of Agent #1’s clients.
                                             5
     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 37 of 42 Page ID #:69



 1        Overt Act No. 5:        On April 1, 2017, by text message, defendant

 2   KAGASOFF provided a former professional baseball player the Sand
 3   Island Sports website address and an account number, and told him
 4   that the maximum wager he could place on a game was $25,000.
 5        Overt Act No. 6:        On July 8, 2017, by text message, defendant
 6   KAGASOFF told Agent #2 that defendant KAGASOFF would call defendant
 7   NIX to discuss a potential loan for Agent #2 to enable Agent #2 to
 8   pay winnings to a client who wagered $1 million annually with the Nix
 9   Gambling Business through Agent #2, and Agent #2 agreed to let
10   defendant KAGASOFF drive Agent #2’s Ferrari for a month if defendant
11   KAGASOFF was able to convince defendant NIX to lend him the money.
12        Overt Act No. 7:        On November 5, 2018, by telephone, defendant
13   NIX advised Agent #3 to get rid of clients who did “prop betting”
14   after Agent #4 told defendant NIX that he had lost $10,000 on a
15   client of the Nix Gambling Business who refused to pay.
16        Overt Act No. 8:        On December 11, 2018, defendant NIX received
17   an $8,000 wire transfer for gambling losses from a baseball analyst.
18        Overt Act No. 9:        On January 12, 2019, by text message,
19   defendant KAGASOFF agreed to meet Agent #4 later that day to collect
20   money that Agent #4 had collected from a client.
21        Overt Act No. 10:       On January 24, 2019, by telephone, defendant
22   NIX told a client that he was throwing a Super Bowl party for clients
23   of the NIX Gambling Business, and that he had invited a former NBA
24   player and Hawaiian Tropic girls.
25        Overt Act No. 11:       On February 3, 2019, defendant NIX accepted
26   a $5 million bet from a client of the NIX Gambling Business on the
27   outcome of the Super Bowl.
28

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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 38 of 42 Page ID #:70



 1        Overt Act No. 12:       On February 23, 2019, by text message,

 2   defendant NIX agreed to reactivate the account of a sports
 3   broadcaster after the sports broadcaster told defendant NIX that he
 4   was refinancing his home mortgage to obtain money to pay his
 5   outstanding gambling debt to defendant NIX.
 6        Overt Act No. 13:       Responding to a request from a professional
 7   baseball player who already owed gambling debts to NIX, on September
 8   14, 2019, by text message, defendant NIX agreed to increase the
 9   baseball player’s credit limit to allow the baseball player to wager
10   additional sports bets.
11        Overt Act No. 14:       On November 15, 2019, by text message,
12   defendant KAGASOFF told a business manager for a professional
13   basketball player that defendant KAGASOFF would increase the maximum
14   dollar amount the business manager could wager on “NBA games” to
15   $25,000 per game.
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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 39 of 42 Page ID #:71



 1                                      COUNT TWO

 2                               [26 U.S.C. § 7206(1)]

 3                                  [DEFENDANT NIX]

 4        On or about October 11, 2019, in Orange County, within the

 5   Central District of California, and elsewhere, defendant WAYNE JOSEPH

 6   NIX, a resident of Orange County, California, willfully made and

 7   subscribed to a materially false United States Individual Income Tax

 8   Return, Form 1040, for tax year 2018, which was verified by a written

 9   declaration that it was made under the penalties of perjury, and

10   which was filed with the Internal Revenue Service, which return

11   defendant NIX did not believe to be true and correct as to every

12   material matter, in that defendant NIX reported, on line 10, that his

13   taxable income for calendar year 2018 was $1,724,552, when, in truth

14   and in fact, as defendant NIX then knew, his taxable income for the

15   year 2018 was substantially higher than that amount.

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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 40 of 42 Page ID #:72



 1                               FORFEITURE ALLEGATION

 2                 [18 U.S.C. § 1955(d) and 28 U.S.C. § 2461(c)]

 3        12.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 1955(d) and Title 28, United States Code,

 7   Section 2461(c), in the event of any defendants’ conviction of the

 8   offense set forth in Count One of this Information.

 9        13.   The defendants, if so convicted, shall forfeit to the

10   United States of America the following:

11              (a)   Any property, including money, used in such offense,

12   and any property traceable to such property; and

13              (b)   To the extent such property is not available for

14   forfeiture, a sum of money equal to the total value of the property

15   described in subparagraph (a).

16        14.   Pursuant to Title 21, United States Code, Section 853(p),

17   as incorporated by Title 18, United States Code, Section 982(b)(1),

18   and Title 18, United States Code, Section 982(b)(2), the defendants,

19   if so convicted, shall forfeit substitute property, if, by any act or

20   omission of the defendants, the property described in the preceding

21   paragraph, or any portion thereof: (a) cannot be located upon the

22   exercise of due diligence; (b) has been transferred, sold to, or

23   deposited with a third party; (c) has been placed beyond the

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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 41 of 42 Page ID #:73



 1   jurisdiction of the court; (d) has been substantially diminished in

 2   value; or (e) has been commingled with other property that cannot be

 3   divided without difficulty.

 4                                          TRACY L. WILKISON
                                            United States Attorney
 5

 6

 7                                          SCOTT M. GARRINGER
                                            Assistant United States Attorney
 8                                          Chief, Criminal Division
 9                                          RANEE A. KATZENSTEIN
                                            Assistant United States Attorney
10                                          Chief, Major Frauds Section
11                                          MONICA E. TAIT
                                            Assistant United States Attorney
12                                          Deputy Chief, Major Frauds Section
13                                          JEFF MITCHELL
                                            Assistant United States Attorney
14                                          Major Frauds Section
15                                          DAN G. BOYLE
                                            Assistant United States Attorney
16                                          Asset Forfeiture Section
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     Case 2:22-cr-00080-DMG Document 12 Filed 03/10/22 Page 42 of 42 Page ID #:74



 1                              CERTIFICATE OF SERVICE

 2
          I, Simonia White, declare:
 3
          That I am a citizen of the United States and a resident of or
 4

 5   employed in Los Angeles County, California; that my business address is

 6   the Office of United States Attorney, 312 North Spring Street, Los

 7   Angeles, California 90012; that I am over the age of 18; and that I am

 8   not a party to the above-titled action;
 9        That I am employed by the United States Attorney for the Central
10   District of California, who is a member of the Bar of the United States
11
     District Court for the Central District of California, at whose
12
     direction I served a copy of:
13
            PLEA AGREEMENT FOR DEFENDANT FOR DEFENDANT WAYNE NIX
14

15    ‫ ܆‬Placed in a closed envelope     ‫ ܈‬Placed in a sealed envelope
        for collection and inter-office    for collection and mailing via
16      delivery, addressed as follows:    United States mail, addressed
                                           as follows:
17                                      
                              Steve Madison, Esq.
18                  865 South Figueroa Street, 10th Floor
19                           Los Angeles, CA 90017

20
     This Certificate is executed on March 10, 2022, at Los Angeles,
21
     California.   I certify under penalty of perjury that the foregoing is
22
     true and correct.
23
                                              Simonia White
24                                            Simonia White
                                              Legal Assistant
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